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                                              State of New Jersey
                                         OFFICE OF THE ATTORNEY GENERAL
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TAHESHA L. WAY                                   TRENTON, NJ 08625                                              JEREMY M. FEIGENBAUM
  Lt. Governor                                                                                                       Solicitor General

                                                    August 5, 2024

Patricia S. Dodszuweit, Clerk of Court
U.S. Court of Appeals for the Third Circuit
21400 United States Courthouse
601 Market Street
Philadelphia, PA 19106-1790

      Re:    CoreCivic v. Murphy, No. 23-2598

Dear Ms. Dodszuweit,

       I represent Philip D. Murphy, Governor of New Jersey, and Matthew J. Platkin, Attorney
General of New Jersey, in the above captioned matter. Briefing in this matter is complete. Please
note that I am unavailable for argument on the following dates:

      1.     October 3 & 4: The Jewish holiday of Rosh Hashana.

      2.     October 7-11: Oral Argument in Texas v. United States, No. 23-40653 (CA5) in
             New Orleans (precise date TBD, but I will update the Court at that time).

      3.     October 25 – November 1: I will be traveling out of the country.

      I therefore respectfully request that oral argument in this matter not be scheduled on the
above dates.

      Thank you for your consideration.




                     HUGHES JUSTICE COMPLEX ∙ TELEPHONE: (862) 350-5800 FAX: (609) 292-3508
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                                        Respectfully yours,
                                        MATTHEW J. PLATKIN
                                        ATTORNEY GENERAL OF NEW JERSEY

                                   By: /s/ Jeremy M. Feigenbaum
                                       Jeremy M. Feigenbaum
                                       Solicitor General
c: All Counsel
